                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
v.                                               )             No. 3:11-CR-129
                                                 )
ASHLEY ELIZABETH SING,                           )             (VARLAN/SHIRLEY)
                                                 )
                      Defendant.                 )


                                           ORDER

               On October 12, 2011, the parties appeared before the undersigned for a detention

hearing. Cynthia F. Davidson was present representing the Government. Russell T. Greene

represented the Defendant, who was also present. At the hearing, the Court heard the testimony of

both Tennessee Bureau of Investigation Agent Greg McNamara and the Defendant’s father, James

Sing, Jr. After considering the testimony and the arguments of both parties, for the reasons

explained in the bench ruling attached here as Exhibit A, the Court ORDERS that the Defendant

remain in custody from now until her trial on December 19, 2011, at 9:00 a.m., before the

Honorable Thomas A. Varlan, United States District Judge.

               The Defendant is committed to the custody of the Attorney General or a designated

representative for confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or held in custody pending appeal. The Defendant must be

afforded a reasonable opportunity to consult privately with defense counsel. On order from the




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Court or on request of any attorney for the Government, the person in charge of the corrections

facility must deliver the Defendant to the United States Marshal for a court appearance.

               IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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